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                        EXHIBIT 1
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                                       News-Only Coordination Protocol1

Issue                            Terms
Scope of Coordination / Safety  Absent good cause, no individual is deposed more than once across the
Valve Depositions                  Consolidated News Cases, unless designated as a Rule 30(b)(6) witness
                                   or an expert who issues reports in multiple cases
Cross-Production                  Documents and written discovery cross-produced by Defendants across
                                   Consolidated News Cases (already ordered by the Court)
Plaintiff Side Allotted Hours     260-hour cap to be shared by the News Plaintiffs
                                  Maximum of 175 hours per Defendant Group2
                                  Maximum of 50 hours for non-party fact witnesses
                                  This cap includes time for third-party depositions and Rule 30(b)(6)
                                   depositions
Defendant Side Allotted Hours     250-hour cap to be shared by Defendants across Consolidated News
                                   Cases, with a maximum of 200 hours for Plaintiffs’ witnesses and 50
                                   hours for non-party fact witnesses.
                                  No more than 105 hours from any one Individual News Plaintiff.
                                   “Individual News Plaintiff” means The New York Times in the New York
                                   Times case, the Center for Investigative Reporting in the CIR case, and
                                   the publishers collectively in the Daily News case.
Per-Witness Time Limits (for  Time limit of 10 hours per witness (if solely in individual capacity), to be
depositions taken of Defendants’   shared by the News Plaintiffs as they see fit
30(b)(1) witnesses)
Rule 30(b)(6) notices             In addition to the agreed-upon custodial 30(b)(6) deposition of OpenAI,
                                   News Plaintiffs will serve one consolidated merits 30(b)(6) notice on
                                   OpenAI and one consolidated merits 30(b)(6) notice on Microsoft.3
                                  In addition to the agreed-upon custodial 30(b)(6) depositions of News
                                   Plaintiffs, Defendants may serve one consolidated 30(b)(6) notice for
                                   each distinct entity among Plaintiffs in the News Cases.
Rule 30(b)(6) time                If any Defendant Group designates two or fewer individuals to testify
                                   regarding all topics set forth in a Rule 30(b)(6) notice, the News Plaintiffs
                                   are entitled to at least 18 hours of testimony from those individuals or
                                   individual.
                                  News Plaintiffs may take no more than 25 hours of 30(b)(6) deposition
                                   testimony from each Defendant Group
                                  Defendants may take no more than 25 hours of 30(b)(6) deposition
                                   testimony in each of the New York Times and CIR cases, and no more than
                                   38 hours of 30(b)(6) deposition testimony in the Daily News case.
Expert Depositions                This agreement does not apply to and shall not limit the number and
                                   duration of depositions of experts.

 1
   The Consolidated News Cases include: The New York Times Co. v. Microsoft Corp., et al., (S.D.N.Y. No. 1:23-cv-
 11195) Daily News, LP, et al. v. Microsoft Corp., et al., (S.D.N.Y. No. 1-24-cv-3285), and Center for Investigative
 Reporting v. OpenAI, Inc., et al. (S.D.N.Y. No. 24-cv-4872). Proposal 1A is being made on behalf of the Plaintiffs in
 the Consolidated News Cases (the “News Plaintiffs”).
 2
   The two Defendant Groups are: (1) OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI OpCo LLC,
 OpenAI Global LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC, (the “OpenAI Defendants”); and (2)
 Microsoft Corporation. Hours caps for Party witnesses include depositions of Party-Affiliated witnesses, including
 former officers, directors, and/or employees of a Party.
 3
    News Plaintiffs reserve the right to seek leave of Court to serve additional 30(b)(6) notices, if appropriate.
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                     The Parties shall endeavor to negotiate in good faith a separate protocol
                      governing expert depositions.
